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NOR-O36393
UN|TED STATES D|STR|CT COURT, SOUTHERN D|STR|CT OF FLOR|DA

FORT P|ERCE DlV|S|ON
CASE NO. 03-14309-C|V-GRAHAM
l\/|agistrate Lynch

|FAE |NTERNAT|ONAL F|NE ARTS
EXPOS|T|ONS, |NC., f/K/a LESTER
EXPOS|T|ONS, |NC.,

.`-’
\'Q ,`
b .4:`:1)

AU u-`l ll_'g

P|aintiff,

VS.

L._,

-`E

DAV|D MORRIS |NTERNAT|ONAL 3

and NORW|CH UN|ON |NSURANCE .:
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§§ § §§§
§ ’u_`*O
j 0 ';F)g

L|M|TED,
Defendants.
/ `)

AMENDED NOT|CE OF REMOVAL
Defendant, NORW|CH UN|ON, files this Amended Notice of Removal ofthis

action to the United States District Court forthe Southern District of F|orida, and in support

thereof states as follows:
STATE COURT ACT|ON

This action Was commenced on or about September 4, 2003, When a

1.
Complaint was filed by the P|aintiff in the Circuit Court ofthe Nineteenth Judicia| Circuit in

and for |V|artin County, F|orida. The Comp|aint Was then served on the Defendant on

September 22, 2003.
This suit is a civil action in Which P|aintiff alleges that Defendant NORW|CH

2.
UN|ON |NTERNAT|ONAL, Lll\/||TED (hereinafter“NORVV|CH UN|ON") breached a contract

to name |FAE as an additional insured in an insurance policy issued to DAV|D |\/lORRlS

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|NTERNAT|ONAL (hereinafter “Dl\/||”). The P|aintiff also alleges that NORWICH UN|ON
failed to defend and indemnify |FAE pursuant to this contract
D|VERS|TY JUR|SD|CT|ON

3. This Court has original jurisdiction of this action under the provisions of 28
U.S.C. §1332 and it is one that may be removed to this Court by Defendant and pursuant
to the provisions of 28 U.S.C. §1441(b). Based upon the allegations of P|aintiff’s
Comp|aint, there exists diversity of citizenship and the amount in controversy is in excess
of this Court’s jurisdiction. NORV\I|CH UNlON states that at all times relevant, including
the time of commencement of this action as well as the time of filing the Notice of Remova|
as well as this Amended Notice, NORW|CH UNION was incorporated in the United
Kingdoml a foreign country. NORW|CH UN|ON also states that at all times relevant
including at the time of commencement of this action and at the time of filing the Notice of
Remova| and this Amended Notice of Remova|, NORW|CH UN|ON had its principal place
of business in Non/vich, United Kingdom. The P|aintiff has alleged that |FAE is a F|orida
Corporation and that NORW|CH UN|ON is a foreign corporation with its principal place of
business, Norwich, United Kingdom. The P|aintiff further alleges that |FAE is being sued
in a case, a copy ofthe Amended Comp|aint is an exhibit to the Amended Comp|aint in this
action, by an insurance company for subrogation due to its payment of $2,700,000. The
payment was paid to Dl\/ll as a result of a jewelry theft that took place on February 2001.
lt is forthisjewe|ry theft that P|aintiff maintains in the Amended Comp|aint that NORW|CH
UN|ON owes a duty to defend and indemnify.

4. The P|aintiff has alleged in the Amended Comp|aint that Dl\/l| has as its

principal place of business, London, Eng|and. NORW|CH UN|ON has been authorized by

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l\/lr. David l\/lorris to advise this Court that Dl\/l| is a business organized according to the
laws of the United Kingdom with its principal place of business being London, United
Kingdom, both at the time of commencement of this action as well as at the time of the
filing ofthe Notice of Removal and Amended Notice of Removal See Notice of Consent
for Removal attached hereto as Exhibit “A” as well as the Amended Notice of Consent for
Removal attached hereto as Exhibit “”.B The P|aintiff, at the time of filing the Notice of
Removal, Amended Notice of Removal and at the commencement of this action, was a
citizen of the state of F|orida. Plaintiff’s principal place of business, at the time of filing the
Notice of Removal, Amended Notice of Removal and at the commencement ofthis action,
is the state of F|orida. NORW|CH UN|ON and Dl\/ll, at the time of filing the Notice of
Removal, Amended Notice of Removal and at the commencement of this action, were
citizens of the United Kingdom.

5. Removal is effectuated pursuant to the provisions of 28 U.S.C. §1441, and
is timely under the provisions of 28 U.S.C. §1446(b), in that less than thirty (30) days have
elapsed since Defendant was served with the Comp|aint NORW|CH UN|ON has been
authorized by the principal of Dl\/ll, IVlr. David l\/lorris to consent on behalf of Dl\/ll to this
removal as evidenced by Exhibits “A” and “B” to this Amended Notice.

6. Where no dollar amount of damages has been pled, one of two conditions
must be met to find that the amount in controversy meets thejurisdictional requisite. Either
it must be facially apparent that the damages sought likely exceeds $75,000.00, or the
defendant must prove be a preponderance ofthe evidence that the damages sought likely

exceed $75,000.00. See, Cross v Be|| Helmets, USA, 927 F.Supp. 209 (ED Texas, 1996).

 

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7. P|aintiff’s allegation of damages as set forth above show this Court that the
damages sought against NORW|CH UNlON are facially in excess of the jurisdictional
requirements of this Court.

OTHER PROCEDURAL REQUlREMENTS

8. Written notice of the filing of this notice has been furnished to Plaintiff. A
copy of this notice has been filed with the Clerk of the Circuit Court of the Nineteenth
Judicial Circuit in and for l\/lartin County, F|orida.

9. Attached is a copy of all process, pleadings and orders served in this action.

WHEREFORE, Defendant NORW|CH UNION lNSURANCE L|l\/|lTED
respectfully requests this Court to assume original jurisdiction and grant this Amended
Notice of Removal.

Respectfully submitted,

BAZ|NSKY & KOR|VlAN, P.A.
Attorneys for NORW|CH UNlON
7901 SW 6th Court, Suite 450
Plantation, FL 33324

Tel: (954) 626-0000

Fax: (954) 626-0011

 

iviicHAEL w_ BAKER
F|orida Bar No. 557943

CERT|F|CATE OF SERV|CE

WE l-EHZZLCERTWY that a true and correct copy of the foregoing has
been furnished by . on this 14th day of November, 2003, to: Scott S. Warburton,
Esquire, Adams, Coogler, Watson, l\/lerke|, Barry & Ke||ner, P.A., Attorneys for P|aintiff,
1555 Palm Beach Lakes Blvd., Suite 1500, West Palm Beach, FL 33402-2069.

O\/

/ivlicHAEL w. BAKER

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SOUTHERN D|STR|CT OF FLOR|DA

cAsE No.‘ l 3 "' 1 4 31 §§ MAG|?_TWT§*.{|UDGE

 

|FAE |NTERNAT|ONAL F|NE ARTS Upon removal from the Circuit Court of the
EXPOSlT|ONS, lNC-l f/k/a LESTER Nineteenth Judicial Circuit in and for l\/lartin
EXPOS'TIONS, lNC-, county Fiorida, case NO_ 03-770 cA
P|aintiff,
vs. ~
c:. § §
DAviD MoRRis iNTERNATioNAL .‘/’§` §§ ;-;
and NonicH uNioN iNsuRANcE :_ 3 j~
LiMiTED, :-'; §§ §
Defendant. “'"§ § j
/ F~c§§- +T i
_;c: y l
>:' Lg .U
.O

NOT|CE OF CONSENT FOR REMOVAL
Defendant DAV|D l\/|ORR|S lNTERNATlONAL, by and through undersigned
counsel who appears for the limited purpose of filing this Notice of Consent for Removal,
states as follows:
l DA\/lD MORR|S lNTERNATlONAL through its principal David l\/lorris
consents to the Notice of Removal filed by the Defendant NORW|CH UN|ON

|NTERNAT|ONAL, LTD.

2. This is to confirm that DAVlD MORRlS lNTERN/-\TIONAL is a limited
corporation organized according to the laws of the United Kingdom with its principle place
of business being l_ondon, England, United Kingdom.

CERT|F|CATE OF SERV|CE
VVE HEREBY CERTlFY that a true and correct copy of the foregoing has

been furnished by U.S. l\/lail on October 22, 2003 to: Scott 8. Warburton. Esquire. Adams.

 

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Coogler, Watson, l\/|erkel, Barry & Kel|ner, P.A., Attorneys for P|aintiff, F’.O. Box 2069,

West Palm Beach, Fl_ 33402-2069.

BAZ|NSKY & KORMAN, P.A.
7901 S\/\/ 6th Court, Suite 450
P|antation, FL 33324

Te|: (954) 626-0000

Fax: (954) 626-0011

By/i\/

i\/ii'cHAEi_ w. BAKER
F|orida Bar No. 557943

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NOR-036393

UN|TED STATES DISTR|CT COURT, SOUTHERN D|STR|CT OF FLOR|DA
FORT P|ERCE DlVlSlON

|FAE |NTERNATlONAL F|NE ARTS CASE NO. 03-14309-ClV-GRAHAl\/|
EXPOS|T|ONS‘ |NC., f/l</a LESTER l\/lagistrate l.ynch
EXPOS|T|ON_S, lNC.,

P|aintiff
vs.
DAV|D MORR|S |NTERNAT|ONAL
and NORW|CH UN|ON |NSURANCE
L|i\/llTED,

Defendants.
/

 

AMENDED NOT|CE OF CONSENT FOR REMOVAL
Defendant DAV|D l\/|ORRIS lN`l`ERNATlONAL, by and through undersigned
counsel who appears for the limited purpose of filing this Amended Notice of Consent for
Removal, states as tollows:
1. DAV|D l\/lORRlS lNTERNATlONAL through its principal David l\/lorris
consents to the Amended Notice of Removal filed by the Defendant NORW|CH UN|ON

lNTERNATlONAL, LTD.

2, This is to confirm that DAV|D l\/lORRlS lNTERNATlONAL is a limited
corporation organized according to the laws of the United Kingdom with its principal place
of business being London, England. United Kingdom at the time of filing the Notice of

Removal and Amended Notice of Removal

3. This is to confirm that DAVlD l\/lORRIS lNTERNATlONAL was a limited

corporation organized according to the laws ofthe United Kingdom with its principal place

 

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of business being London, England, United Kingdom, at the time of the commencement
of this action.
CERT|F|CATE OF SERV|CE
V\/E HEREBY CERT|FY that a true and correct copy of the foregoing has
been furnished by U.S. l\/lail on November 14, 2003 to: Scott S. Warburton, Esquire,
Adams, Coogler, V\/atson, l\/lerl<el, Barry & Kellner, P.A., Attorneys for Plaintiff, P.O. Box

2069, West Palm Beach, Fl_ 33402-2069.

BAZ|NSKY & KORl\/lAN‘ P.A.
7901 SV\/ 6“` Court, Suite 450
Plantation, FL 33324

Tel: (954) 626-0000

Fax: (954) 626-0011

By
7 i\/'\\cHAEL w. BAKER
Fiorida ear NO. 557943

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B\I THE CIRCUIT COURT Ol~` THE
NB\TETEENTH IUDICLAI. CIRCUlT IN
_A.ND FORl\/I_ARTIN COUN'I`Y FLORIDA

cAsE No. 03-77©-cA

ll-`AE INTERNATIONAL FINE ARTS
EXPOSITIONS, lNC., f/k/a LESTER
EXP_OSITlONS, INC.,

Plaintii‘f__
VS.

DAVID MORRIS INTERNATIONAL and
NORWICH UNION lNSURAN'Cl-: LMTED,

 

Defendants. . .. j __

 

Al\/IENDED COMPLA]:NT _-_-_1`-"______:__`__{
IFAE lNTERNATlONAL FINE ARTS EXPOSITIONS, lNC. f/”lc"a LESTER
EXPOSITIONS, lNC.-, by and through the undersigned counsel sue the Defendants, DAVID
MORRlS D\T'l`ERl\lA'l`lONAI_ and NORWlCl-l UNION INSURANCE LIMITED, an alleges:
l. This is an action for damages in excess of 515:000_
At all times relevant to this action, IFAE l'N'l`ERNA'l`lONAL Fl'l\l'E ARTS

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EXPOSITIONS, lNC. f’lc/a L.ESTER EXPOSl'l`lONS, lNC. (hereinafter referred to as “lFAE’“), is

a Florida corporation With its principal place of business in Martin County, Florida.

"` At all times relevant to this action DAVID MORRIS INTERNATI ONAL (hereinai"ter

referred to as DMI), Was doing business in Florida With its principal place of business in London,

Englaud.

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4. At all times relevant to this action Defendant NORWICH UNION INSURANCE

LMrED ther@maa@r referred m as ‘Noavvicrr’i, a a foreign C<>rp<>ra*~i@n With its PY‘¥UP&l place
of business in Norwich, United Kingdom.

COUNT I
BREACH OF CONTRACT AGALNST DAVID MORRIS IN'I"ERT\"ATIONAL

ll-`AE hereby realleges paragraphs l through 4 as fully set forth herein and further alleges as

follows:

5. On or about May 9, 2000, Dlvll and ll~`AE entered into a contract whereby Dlvfl leased

66l square feet for a rental price of $`52,280 for purposes of exhibiting line jewels and other goods

at the Palm Beach lnternational Art and Antique F air (_ a true and correct copy of the contract i_s

attached as Exhibit “A”).

6. Pursuant to paragraph ll of the above mentioned contract DMl was to carry7
insurance coverage including commercial general liabilityj personal injurv and blanket contractual
liability insurance with limits of at least $500__000 per occurrence Pursuant to the same paragraph

ll of the above mentioned contract DMl was to name IFA_E as an additional insured

7_ Pursuant to paragaph lO of the above mentioned contract DMl waived any and all
claims against IFAE for loss, theft_, damage or destruction by nre; water or otherwise ofan_v artwork,

crates: packing materials or other goods on the premises of IFAE at anytime

8 . Pursuant to paragraph 9 of the above mentioned contract 24 hour security guard
service was provided to prevent entry into the exhibit area by anyone not authorized however, the

security guard service supplied did not in any way guarantee the exhibitors, including DMl against

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loss and did not imply an assumption of liability for exhibitors’ property including the property of

Dlvl`l, by the premises or show organizers

9. At all times relevant to this action Dl\/ll owed contractual duties to ll`Al§ to meet the

obligations under the above mentioned contract

l O. Dl\/H breached their contractual duties to IFAE by failing to comply with the insurance
requirement despite agreeing to do so pursuant to paragraph ll of the above mentioned contract

l l. As a direct result ofDl\/ll’s breach of their contractual duties, the insurance company
which insured DMl is now suing IFAE for subrogation ofDl\/ll"s claim for 327 million arising from
the theft of jewelry during the February ZOOl Palm Beach lnternational Art and Antique l~` air
Exposition. (Attached hereto as Exhibit “B”and incorporated herein is Plaintii&° s Amended Complaint
in that cause of action.)

WHEREFORE, IFA.E demands judgment against Dl\/ll for actual and compensatory damages
as Well as interest and cost, and all the damage that the Court deems just and proper_. and further

demands trial by jury.

COT.H\’T H
[NDEMNITY FROM DAVID MORRIS INTERNATIONAL

U:AE hereby realleges paragraphs l through 4 as fully set forth herein and further alleges as

follo ws:

l'? Pursuant to paragraph ll of the contract, Dl\/ll expressly agreed to save and hold

harmless DFAE: their management: agents and employees from any and all claimsT liabilities and losses

for injury to persons or damage to property arising in connection with Dl\/ll ’s use of the exhibit space

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DMl waived any and all claims against IFAE for loss theft damage or destruction by iire, water or
otherwise for any of its materials on the premises of Il:AE at any time
lE. Consequently. pursuant to paragraph ll of the contract, DMl has a duty to save, hold
harmless and indemnify IFAE against any and all claims arising from Dlvll ’s use of the exhibit space
V\'HEREFORE, IFAE demands judgment against Dl\/ll for indemnity as well as interest and
costs, and all the damage that the Court deems just and proper, and further demands trial by jury

COUNT HI
CONTRIBUTION FROM DAVI]) MORRIS U\"TER\"ATIONAL

IFAE hereby realleges and adopts paragraphs l through 4 as if fully set forth herein and

further alleges as follows:

l4. This is an action for contribution under the Uniform Contribution Amongst

Tortfeasors Act, Section 768 .38, Florida Statutes, and is within the jurisdiction of this Court.

l5. Dl\/ll had a duty to exercise reasonable care in the operation supervision and
management of its exhibition booth located at the Palm Beach lnternational Art and Antique F air and
to perform such acts in a non-negligent manner as to avoid injuries to person and property such as
the property in question in this case

l6. Failed to exercise reasonable care by negligently supervising and managing its booth_
and by leaving the keys to the jewelry cases out in the open an unsupervised by any of the booth"s

attendants or owners.

l'/`. Dlvll"s negligence was the legal and proximate cause of the theft of the jewelry and

any damages sujfered by Dl\/U as a result thereof

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18. Consequentl}r, any damages suffered by Dlvll’ s insurer were caused in whole or inpart
by DMl’s negligence As a result of the damages alleged, Dl\/ll’s insurance company: Tnose Certain
Underwriters at Lloyd"s of London Market insurance Companies subscribing to Policy No.
NOO_ZOl 80502-AAFV3586 (_Hereinafter referred to as “Lloyds of London"’_`), made a demand for
damages against IFAE_

l9. lF_/-`-rE is entitled to contribution from Dl\/Il for its pro rata responsibility of the claims
by the underlying Plaintiifs__ Lloyd‘s of London, pursuant to Florida Statute, Section 768.3 l.

WHEREFORE, IFAE demands judgment in the amount of its damages and asserts its claim
for contribution against Dlvfl, together With costs, and further demands trial by jury

COUNT IV
BREACH OF CONTRACT AGAINST NORVVICH UNION INSLRANCE LIMITED

ll:AE hereby realleges paragraphs l through 4 as fully set forth herein and further alleges as

fo llo ws ;

20. At all times relevant to this actiort_ NORWlCl-l was the insurer for DMl, and

NORVv’lCH was contracted by DMI to cover its interests pursuant to a contract entered into by Dl\/U

and lFA_E for Dl\/ll’s exposition at the Palm Beach lnternational Art and Antique l~`air in February

ZOOl.

Pursuant to the contract between Dl\/ll and IFAE the Policy oflnsurance was to name

Zl.
lFAE as an additional insured and Dl\/ll expressly agreed to save and hold harmless lFAlE, their

management agents and employees from any and all claims, liabilities and losses for injury to persons

or damage or injury to property arising in connection with Dl\/ll ’s use of the exhibit space at the Palm

Beach international Art and _A.ntique Fair in l~`ebruary 200l.

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22. Pursuant to the Certiflcate of lnsurance NORWlCl-l had a duty to defend and/or

indemnify ll~`Al;` for any and all liabilities arising in connection with Dl\/ll’s use of the exhibit space

including the theft of jewelry from DMl
23. NORWl Cl-l has breached this contractual duty and has failed to defend or indemnify

ll-`AE as an additional insured under its Certihcate of lnsurance.

24. As a result ofNORWlCl-l’s breach of its contractual duties ll:Al-: is now being sued

for subrogation for Dlvll`s loss of property in connection with its exhibit at the 200l Palm Beach

lnternationa'l Art and Antique l~`air.

WHEREFORE, lFAE demands judgment against NORWlCl-l for actual and compensatory
damages, interest and costs, court costs and reasonable attorneys’ fees incurred by the Plaintiff
pursuant to Florida Statute__ Section 624.155(3), and all-the other damages the court deems just and

proper as well as interest and costs: and further demands trial by jury_

Adatns, Coogler, Watson, Merkel, Barry & Kellner, P.A.
Post O:tiice Box 2069

l555 Palm Beach Lakes Blvd., Suite l600

West Palm Beach__ FL 33402-2069

(56l) 478-4500

Attorney for Plainti§

By: M

seorr s. wARBtntroN, morgan
norma ear # series

 

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%%z%% ExHiBiToR AGREEMENT

|NTERNAT|ONAL _
__ART§¢A'}'§'QUE_ FEBRuARYl 31,2001ii

 

 

 

 

DATE: Ma'v' 91 2000

 

 

 

 

CON]RA.CT#: 750015-.1=_
Thisl'f\GREEMENTbet\z/e:n PHONE§ 44 l7l 499 2200
GALL~ =RYNAME- David Mcrris International Ltd CO]\TA(I_- Ian Rose

 

(hereinafter the _"Exhibitor"l and lFAE lnc. a l'~`l orida corporation (hereinafter "P..ALM B':`.ACl-l lNTERN ATIONAL ART &
A_NTIQUE FAIR or PBl../-`~ ..41' ') shall govern the terms and conditions of the Exhibitors lease of exhibition space in the PBlAAF
Pavilion to be located in West Palm Beach. Florida plus any additional days required for move in and move~out. Exhibltor and

PBlA.A.l~` agree as follows
Exhibitor leases eel square feet for the aforementioned PBl...°tAF at a total rental price of 5 52230 . 00l plug

l.
applicable stale and local taxes plus service and administrative charges as outlined below in U. S. currency 'l`nis rental price r‘~‘lecu
paymem by cash, chele or bank wire nansfe r. Credit card paymene< are accepted onlyl subject tea 3% surcharge

2. Exhibitor shall have remitted a deposit to be credited toward full payment of the rental price
3. The balance of the rental price shall be paid by Exhibitor m 3 equal installments dueAUG ll 2 0 0 0 _ OCl'. '1 l 2 0 u D;md
ln the event Exhibitor fails to make such scheduled payments and/or if any payment is delinquent more

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2000

on or before D€C 'l _
than li davs past the due date the Exhibitor's booth location will be assigned to a non~preferential area and a late charge of 3 00 pe1

 

square foot service charge will-added to each delinquent payment

4, ln the event that Exhibitor fails to make rental payments as agreed herein Exhibitor shall be deemed 111 derault and PBl_/~`~AF shall
have the right to retain Exhibitor’s deposit and all monies paid as a non exclusive remedy thereby reserving any and all other rights
under alw. ln the event of a defaull by Exhibitor PBIAAF shall have the right but " ' ' ` ' ` `
space to another exhibitor prior to the exhibition ln the event PBlA.A.l-` is unable to lease all available exhibition space Exhibitor shall
remam liable for the full balance due under the terms of this Agreement._ all approved catalogue and lighting fees together With all costs
to, all reasonable attorneys` fees court costs and interest

Supoiemcntal charges will be required of each exhibitor for booth lighting, wall covering color
ed by the exhibitor and charges thereof are outlined

not the obligation to 1ease the subject exhibmon

of collection including but not limited
5. Scrvice and supplemental charges: _
catalogue preparation and PBlAA-l: advertising Additional services may be request
in the Exhibiror Manual. All charges must be paid in full prior to the Exhibitor's entry to the show rloor

6. By execution of this AGR_EEMENT, Exhibitor acknowledges the Rules &\Regulatlons on reverse side of this AGREEME?\T. 'i'hc
Exhibitor promises to abide by the Rules and Regulations contained in this AG T-`EMENT and such further rules and regulauons as rrav
be implemented by PBlAAF and/or its Deale."s Advisory Committee governing the terms of exhibition at PBlA.Acl-` .

7_ The liability of PBl.A..A.l-` ror railure to perform its obligations under this AGREEMENT is subject to the same conditions and
limitations on liability set forth 111 the "Exhibitlon Leasc" between PBl.A.AF and its landlord for the exhibition sue & bullding.

8 This AGRT:EMEN`T is governed solely .`oy the laws of the Scate of Flor'ida. ln the event of any and all utigauon arising from this

AGR_EMENT the parties hereby agree that the sole venue for all legal action shall lie exclusively 111 the appropriate Courts ot Marun
Counr_v l"'lorida. The parties agree 10 waive trial byjury in any and all litigation arising from this agreement

9. This AGREEMENT constitutes the entire contract between the parties Tnere are no other agreements oral or written, other than
contained herein

lO. This AG‘EEMENT
shall `e: eftective on the date c
PBI.L _r'.F .

' l. This AG-REEME?\T is fully or partially assignable at me sole discretion of PBl¢~»’~E

$hall not tal<. er`fe51 and there shall be no obligation by either party unless it is countersi¢_>ne'1 *\v ?Blem: l'.
ountersigned by PBl.»”-.AF and such countersignature shall be deemed acceptance ot the :.xh)bltor to

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in n of competent jurisdiction the

in the ovenr that anv individual provision of this .~\_)1~ _:.:M l\"` 1 shall be deemed \n\aiic o_\ an_\ com
and elect

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re naming provisions of this agreement shall remain in full force
l have read this agreement in is enti;ery_. including the Rule<, and Regulations on the reverse side and agree to be bound b_\ 1he terms and

 

 

 

conditions herein |\ .' , » ,o
. . 1 `1 , _, /\_ j 1 .f’\ / 1,' A §
l\'ame (Please .Drint; y pie lY/', 11 » \.a \~_ -._/1 .
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" Rules & Regulations

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G-eneiral lnl’ormau'on:
LO<-`JDOUS S_Dccially constructed tem_ pavilion or new permanent exhibition facility in Vvest Palm Bcaclr rlonda

'r`_:»`mbluon l-iours: Exhibiudn hours s icc: to change at the discretion of Show Ma.nag¢m=nL

l lxhi`bition Admi_ssiori: ':`.xh` ior< application to l.ase exhibit space at PBl,A.AF shall not be deemed acceptsd.titidl PBlA/\.. has _xe.uted a countersigned

EXHIBITOR'S AGP £;MEl\‘i lAAI-` reserves the right ic accept or m_c.ie ' any '~`_.xhibitor solely upon ic own discretion and for any rosen whasocve.r. iii the
`se information whaLsoever or attempt to exhibit artwork not specified on the F_/`~’:r[lBiiORS APPL lC.~'-."'lON PBl/~..¢cl: reserves

=v:n' any :.xhibiiot shall subm
the nghl 10 BHC=' lhc E.XH`lBl.lel-" S AGRE:.ME.Ni at any time and r::alr. any monies paid as lidhidatcd tiai:iiagc:1 1,\h.i`t)itoi'~: may not assign dr suoie' all or any of

"RI:`_EME.N" 1 without written consent of PBL¢~.AF. l

   
 

   
   

their booth space contracted under the ,uA
Commirte: with regard to all proposed exhibitions at FBL&A."".

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Vetn'ng: FBlAAF is a strictly vehcd fair_ All applicanu agree 10 abide by the decisions ot the vehing
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4_ cost or exhibinon s¢.'»n't~= Pi~ovia¢a:

standard carpeting. and basic E_xhi`oitoir sign.

The following services are included iii `ix`.`tubitor`s space rental a standard amount of solid partitions suitable for hanging

5. Other Avar'lable Seirvi`cs & Technir:al l_nfoirmation: Detailed information such as shipping instructions customs requirement. warehousing aciiitie< and oroe.
forms for additional walls wall epvcring booth u~lm_ fumliun; llg`m_<._ telephones floral, hotels and other servic._s will be included in the Exhibitors‘ Manuai_

inere are suppi=mental fe cs for required booth lighting wall covcnng. color catalogue preparation and PBl,A.A.F advertising
fumitur:_ custom draperyl sht:lvingl closets. sculpture

6 Sup_plemenual and Service Chaxrges:
Addiuohal charges may be incurred for the following; extra walls custom flooring booth him additional signage
pedestais and sculp1ure drayage These charges mus'1 be paid in tull prior to the Exhibiior s entry to the show floor
r7. General Appearancs: the show shall hav~ an approved look All walls. wall coverings floor covering fumiturc and lighting must be approv.d bv Show
Managemeni_

8 Co-Exhibitors: Ther: will be no co-Exhibiiors without written approval from. °BlAAF. Tnere will be a surcharge for each approved cci-exhibitors A.ny Exhibitor
allowing a co-Exhlblior to participate ih his_ rented space without prior wnri~p_ approval from PBlAAF acknowledges the liability of this surcharge and acknowledges

any such unauthorized co-parucipation voids all1 rights of the Exhibiior.

9. SeCuFi[]'$ A 211-hour security guard service is provided 10 prevent entry to exhibit area by anyone not authorized by the Oirgahizer dr not weann° prope1 bauge< for
admission tc such areas 'l`he watchman service supplied does not guarantee Exhibitors against loss neither does it imply an assumption of liability for Exhibltor`s
property by the premises or show organizers Merchandise security passes with an authorized signature and/or passes issued by PBlA/‘~Jr` must be utilized 'l"he above is
for the protection of all Exhibiiors and shall not bc construed as anyl guarantee or indemnification whatsoever to the z:xhlbitors against loss or theft or otherwise nor
does it imply an usumption of liability -by PBlAAF with respect to Exhibitor's property

lO. Release of l.iability: PBlAAF w_il not accept anv responsibility for the well being of any art and materials consigned to or in the ownership of any 1_xhibiior
during PBlAAF. The Exhibiior waives any and all claims against PBlAeA_F for losst thefts damage or destruction by fire water or otherwise of any an world cratcs`
packing materials ett. on the premises of PBl_»‘-JJ ai any time as well as 101 niqu to himself his agents. servants and/or employees while in the exhibition premises
and for any damage of any nature including damage to his business by reason of the failure to provide spac: for his exhibit or for any failure to hold exhibition as

scheduled

ll ln$llmn€_€ and R€lczse of Liabilit_t': Exhibitors must carry work 's Compensation commercial general liability including produc'_r and completed operations

independent contractors personal injury and blanket contractual liability insurance at limiu of at least 5500.000 per occurrence and‘ S_')O0.000 per aggregate 'l'nesc

coverages must be evidenced by a Crrt.iticate of insurance with a 30 day notice of cancellation provision '10 Lhe holder and natruhg PBi.AAF as additional insured ai

ll is stronle recommended the Exhibiior$ also carry insuranc: to cover loss. damage, or injury to any property of Lhe
r. While the exhibition

 

levi 30 days before the proposed exhibit date_
Exhibitor or to any of his officers agents employees or contractors whether attributable to accident f`ire, theft or anv other cause whatsoevc.
The Exhibitot expressly agrees to save and hold harmless PBLAAF` their

may provide security guards it is done solely as an accommodation to Exhibitors.
manag¢m¢n¥ ag¢nL- and employees from any and all claims liabilities and losses for iniury to persons (inciuding death) or damage to property arising in connection

with Exhibitors use of the exhibit space

ll Authenticity: Should the authenticity of any wor`x of art be placed in issue during the course of the exposition PB].A_Al-` reserve the tight to have said work
withdrawn from the exposition at the request of the Vetting Committee and/or the Falr Organizers. All such decisions are at the sole discretion of the \/`ett.ing
Committee and./or tne Fair Organizers .A.ll Exhibiiors are strictly accountable for the authenticity of the worics of art which are shown or sold at the exposition_ 'Ilie
Exhibitot 'shall indemnify and hold PB`iAAi-` harmless against any claims whatsoever made with regard to the authenticity of any work. Wlln YEEZ-Fd 10 any
misrepresentation of an\ irregularity made with respect to the sale of any artwork at the exposition as well ac any xpenses incurred by PBlA/~f. including attorneys

fccs. .
13_ Cauilogue: An official catalogue is to be published for PBlM F. No claims can be enteriained with respect to errors or omissions in the catalogue 'l'.`hc :.xhibllor
shall be responsible for the content of the chuics and for any damages claimed through the publication thereo1'r`ach Exhibitor may be restricted to a maximum number
ot' pages in the catalogue Coior catalogue preparation fees may be required from each exhibitor

14 PY'DmOinna| AClivitid al PBlAA_F: Cinema video. audio_ printed material and posters are not permitted at FBl.-»‘~./-cr.
Special Wall Arrangemenw: .»‘-\ny alterations in booth structure must be approved in writing by PBl.A.AF and will be at the expens- 01 the ._xhioitor R:qucst for
wall anrangem_nu other than the standard amount furnished shall be submitted to the PBlA/\F office nc late.r than

additional wall partitions wall.coverings or special
the scheduied dater as outlined ir the Exhibltor's lnstructional Mahual_ Additional wall consprucuon and wall coverings will be an additional 1.harge

 

lo R_surictions Si`gnag' -tli signage- for PBlA/-t.`~` must be show standarc_ Nc Exhlbuor will be allowed to mount oispiay 01 pos1 non uniform stranarze withou' prior
written approvat. _-'ur~rii`iiire: A|l furniture mus'1 be show standard _N`o additional furniture displays storage uni" ot similar furnishings will be allowed without prior
written approval igntine .-tll ii"iitinc rnus be snow standard and supplied by PBlAr'E lyle individual Exhibitor lighting sys1~m< will be pemuttec a’ DBi.¢tAr

act or omissith f T’Blf-i_/‘c: the Organi’.::rs may

"` Expositioh Cancellations: Shoulc ah\' contingency prevent the no1ciing of the exhibition other than froma o"ire:'l
.’::;un sucr. pari of Exhibitors rental a shall be requirec to recompense ii for expenses incurred up to the time uch contingency shall have occurred Botlr. parties will
be relieved ot' any olne- anc all further liability PBlA/c= shall not incur any liability whatsoever in cut 01' =vcn: cancellation
xnibuor agree: tc indemnify and hold PBl.-.=E narhuess io.r an_\ claims arising out ot negligence oi Exhibitor his
rlaims and to produce e\idenc: or such insurance lt . epue_stec by PBi.~c-\F

:moved same from premises

 

 

18. Exhibitor Release and RLsponslbiiity:
agents__ or employees Exhibitor agrt:s tc obtain adequate insurance against any such ..
hibitorr must remain with all artwor`it and/or their freight until the designated shipper has

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oe.rr.iii: and specia' arrangements mus: de confirmed ir1 writing

all verbal gr:emeht_. individual _
\c iooc wi" be allowed ousitie the designated eating areas

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l_Subjec: to the terms and condiuons ot the :_x`nibitors Agreement between theP aim Bea.ch international Ai‘t & Aiinciue Fair (her* inart:.’ referred to as PBlAA}
ind the Exrilbitor and these rules and regulations the Exhibitor shall have access 10 the exhibition Faci'iiry on the dates and during the bouie 10 be designated by
PBLAAF howevet this will be no earlier than lO: 00 airt on Monday lanuar_v,_ "9 2001 and no rater than l:OC' p m. on Monday'_ reb~tuary ll ?.OOl. Ad`dib'onal

S¢Eup Lim¢i maj DC available IC ‘Al'l.lDllOI'S U)' PI`lOl’ WTl[lCl'l B.;D"€$IDSUL

Bl/~_A_F reserves the right to prohibit any exhibit or proposed exhibit and to permit only such artwork and contich as PBt,~c"-tr may approve "liis reservation c
e:s all persons things conduct printed matter advertising souvetiirs, emblems and all matters which a_i':t'ees or may at"r'ec: the faii. All printed matter ic be dism
uteti` by the exhibith at the fan rnust be submitted 10 PBl/*~.-A? ior approval prior 10 such distribution

except as otherwise set forth here1r1` FBIAA_F shall be1 'esponsible for providing to the Exhibith free of additional charge abasic exhibit booth sufficient 'm
consmictioti and design to permit in the opinion 01 PBLAAF appropriate display oi’ the Exhibltors exhibit all exhibit booths must have a ceiling 10 be installed

at the expense 01' the exhibitor. No. exhibit booth may be sc high along the front or sides 01' the exhibit booth m tc hide the adjouilng or neighboring exhibits from
the view oi' visitors passing along the aisirt All electrical and decorating wor`i: will be undertaken at the E_xhibitors sole cost and expense by contractors designai
by PBL¢A.F D¢wils Or the electrical and decorating conmctors will be forwarded 10 the Exhibitor upon execution 01 the standard E.xhibitors A greernent

and this Appcndix A..

4. PBl_A.A.'r` will iniorrii the Ex`riibitor 01' the official opening and closing hours of the area oi' the Exhibibon Facilit'_\' in which the e_xnioitots spac'*(Sl 'S tar",
located as well as any special'rtiles and regulations pertaining 10 that area including Without limitation details concerning the installation operation and dismantlir
of tne exhibitors exhibition The Exhibitor-agi'ees to comply with ah existing niles and regulations without reservation or appear

5_ All 01' the Exiilbitor's exhibiu must be delivered tc the Exiiibirlon Faclliry' and set up on the dates and at the times 10 be designated by PBl/-Ai- The Exrubitor
exhibits must be sex up and ready r'or vetung prior 10 the date and dme 10 be designated by PBlA.¢-tl:. The exhibitor may not usea non~exhibii;i_ng dealer or any 01' it

employees representatives or agents 10 assist in sertlng up the Exiiibitors exhibits

6. Each Exhibitor is responsible for obtaining iu own insurance cove rage PB ¢e¢~.F disclaims any responsibility or liability lot any loss or damage to person or prop
erty in connection with the fair All exhibit and other prop»`-:~ry' brought intc the Exhl' bidon Faclliry by the Ex`iiibi\or shall be at the sole risk of the Exhibitor l`h.
l:>tiiibltor his emplovees agents and assigns hereby unconditionally release 1 DBLA.AF from any responsibility whasoever for any loss or damage to person or prop

erty in connection with the fair_

7. 'l`he Exhibitor is entirely responsible for the exhibit spacetjs) and agrees 10 reimburse PBl.A.A."r' for any damage 10 the tloor_ walls or equipment used in connectior
with the exhibit spacetfs_i. The Exhibitor shall not dn`ve nails intb_ goug_e~ scrape. paint place tape upon or in any way mar dr mark the surface Of the floor

B. 'l`he l:`.x'rtlbitor must make written application to PB`t/¢._¢>t`r` ior security passes 10 be issued 10 the F_xiuoitor and id employees representatives and agen" necessary
to set up and/or dismantle the Exhibitor`s exhibits All such individuals must report to the Exhibitor Ser\d`c:s o§ce or designated Securiry' Ofi'ic: on arrival at the
‘xliibiti`on :aciiity. Such securityl passes shall be valid on the dates and during the times to be designated by PBl_AtAF. A_ll such security passes shall become void at
the time specified by PBlj~_Af for the completion ot' such set up and/or dismantling of the fair

S'."` inc Exhibitor must make wnt'ten application 10 PBlAAF lot security passes to be issued to the Ex'riibitot and its employees representatives and agent. necessary
for the efficient operation oi' the F_xhibitors exhibit Such security passes shall be valid on the dates and during the times to be designated by PBlA.A_:. including with-
out limitation dunng the opening and closing hours ot' the fair must be retained by such individuals at all times during the Show and must be presented 10 the Exhibition

Faciliry security officers upon request

lO. PBlAAf will provide 2¢-hour perimeter security services from 10:00 a..m Mond:iy, lanuary" x9. 2001 to l: OC' p. m. Monday February ll ZOOl. but shall assume
rio responsibllir\ whatsoever 1'01 any los: or damage to the property oi' the Exhlbltor. inc Exhibitot may, at its own cost and expense arrange through an independent

security company for its own security service

l A_ll activities bi' the Exhibitor must be confined within the exhibit space(s,`i and conducted as consistent with a major vetted. first-quality international art and anuauc
fair Sound-producing devices and/or sound amplification equipment may not be installed or operated without the express authorization of fair organizers
`; at all times properly pnsented and maintained consistent witi1 first-quality presentation

 

ll `l`net ._xhloitor at it.f sole cost and expense mus keep the exhibit space1
atall times in addition the Exriibitor must mmove all paci;tng crates ano` debris from the exhibit spacetsl no later than the date anc` time designated b\l PBLA.A:.
E,U`ilbitors should clean the exhibit spacets`,. ancr emove all exhibit coverings andl dt_si the exhibits at least one hour before the Btnibition l~'all is open 10 the public

each day.
ll PBLAAF and iu employees representatives anc' agents may at all ume: enter upon. pass oven through and/or across the exhibit space($) for any reason Whatso-
-ve:. n"luciing without limitation i'or thc purpose oi' gaining access tc or doing any work on anyl other pai'. 01' the §xhibition-Facii'ity ot the fair

lA.. Nc rei'reshment< 01 liquor oi' anv lone rn \ be supplied or stored in the Exhibinn .'*~Z;tll by the Exriibttot. without prior approval Smoi_ing is no' aliow-dr 1' the
Exhibitior. .:aciiity' t)_\' state law.

‘.`.Tcl'_'... Z'.=.I\£"V"E\'§. ,’JL,SZ‘::’S.‘. SIP_L"»"~'E_\'E,

. shal_ :"~""` cir. smc: conformity with

 

lf. '_"ne Exnlbito1 exhibit shall be presented anc the privileges granted under the :.xiilbltots ’~.'.gree'nen and .»tppendix.-
all applicable federal state and local laws rules anc` regulations ir. addition the "xitibitor shall itee_c at ali times all entrances
e and other arezt. ec_'o» -'_n: public . ce o; al obsm_icn`ons anc respect ala nre'laws and codes

   

 

 

 

corridors and floor sp'

" ah '~ et imposed by any taxing authorityl i_r. connection
tc the

id 1 e .:xnibito. shall be responsible for obtaining any necessary license; or pem'u's. and 1'ot the payment ot

with tne rental o: sp -:. decorzd`on thereof_ usc thereot. and/ors sales the
;xnibitors _A_g'reement anc` _»’~.ppendix .»”-. tnereoi`.

. z wel§ ?_' anv other acd‘.'ittes ir.- conjunction wit.`r.- participation ir.- the" 1 ' subtec.

 

 

n -DBL'>~`-: SF'a-l-' EP,DCI_D\ "BJOUS vct't_‘ng Comi`t tnttees with respect tc tne ri_`-riereri categories ot'

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gm m ag¢ and importance that le exhibioo

d of such 2 standard and in such concilo`on. taldii;
e not deemed tc be show worthy including o

13_ lall =xnibie must tx property trainmen and l-' __ _ _ _ _
nol be contrarv to the wsi interests c>lr tne Show t hole. 'l`ne Vetting committee may reruse 'oo_iecd w11...._
tha are not necessarily r'alte_ but aiie not felt to be ot' sut`t'leieni quality for the tair.

111~ appropriate vettmg committee shall mice into ac count that the statements concerning amibutior and condition shall not be such as might be n'iisleading_’"

lowing'staiidar`d< must be adhered to by the" exhibitor

E_ACl-' AND EVT-_RY1 l ;M1 E`_Y_`l-DBITED MUST l-`i.A\/T_ A DES CPJ`FITVE "_J-B':l S'l`.l=.T'INC~ '.'='rl"e N.A.ME OF THEAR'."I$T M:"..".»`l"t.l'ivi Ol-` `1"1-1"`.-_ WORY_ 1
OF E.>CECL"I`ION COUNTRY Ol" ORlGlN AND PROVE`_NAN .Ea:h and every item must be labeled PRlOR 'l"O " c beginning or' the `v`ett:ing t ~:3;
exhibitors st'ailure to lab- appropriate iv will 1~ad to the removal of the objects concerned or the closure or' the exhibit space tor tire duration o1 the .a.i. inc s1
the label shall be in keeping with the exhibit

(a) 'Ilie dateline t`or the fair is that 75% ol' those modern paintings shown b\' each Exhibitot must have been exxuted no later than 1950 and all modern paintings
have been executed prior to 1970 unless an exemption has been made in advance by tiie Vetting Committ~ and/or` rair Organlzers Further, in all categories all -:
lt ardeles should relate to the period they apparently represent and later copin or panehe will only be allowed at the discretion of the appropriate Vetu`ng Commi

(b}- Anooues or works ot'arl with which the appropriate Vetting Commirte: is satisfied must be:
1 ando_ues or wori:s of an ot' the period which they are represented to be;
ii. in their original fomt:
iii. must be al least lOO years old to be labeled antiques.
(C) R¢g'ildin§ or' mirror frames c'ilt `cl~ai_"< anc othe1 runuture rrav be permitted al the discretion ol' the appropriate Verting Comrnlt'tee provided tiial such
does nol exclude evidence or' andoulty, and that the object is labeled as such.
(d) A major mstoration is not permitted and the decision ol' what constitutes
Committee:
(_e) Reduco`ons including prinL or maps with trimmed -lops and side margins are nol allowed:
(f) 1":`ach exhibit mustbe labeled with the date and country of origin
(g) Nc exhibit shall be pei'rnined to include the following under any circumstances
i_ Ariy exhibit having been so restored s to exclude evidence of serious or extensive damage
i_i_ Marriagc$ ot' any kind: that is items made ot' two or more individual sections each ot' which originally lormec part of otth all'i'cr°nt li£mS
iii. A.ny exnibil having additions subtractions later enrichmenrs or any alterations which change its original character or enhane. -irs value', and _ _
iv_ items which are in the opinion 01' the appropriate Vet'ting Committee. other than in tiie best interests oi’ the ralr. Fore xarn_ole, (but without limitatiom:
Reo'uctions in depth or size generally of any pieces such as sideboards or tables;
_ Plain pieces which have been carved inlald or cross-handed at a later date;
Mirrors with original designs altered or with decorated glass borders or panels which are nor rs tne on§’lnal
_ Gilt gesso tables with new gesso tops;
_ l`:urniru.re with a solid plinth altered to bracket feel or bracket feet replaced b_v piinth:
. Blind wooden doors altered to glass or wire cage;
. Painted rumlture repalnted with embellis`riments or a change of color.
. Settees and chairs which originally had cane seats but are now upholstered
. Cloei<s in which the original movemenu have been entirely replac ed;
Pi'lnts or maps in which the pictorial surt'ac has been reduced or has-modern coloring.

(n) Furriinire: `l`ne datelinc for all antique furniture is 1900
19th ce ntti.rv furniture of exceptional merit created in the style of an earlier period is permissible providing that it is correctly labereo as such and provicilnC tna1 tr

items are not direct copies ot a.n earlier period 20th cenrur\ copies or' an earlier period are not permissible
(_i\ Sctilpture: The dateline for the fair is thal" 15 % of sculptures shown by each Ex`iiibitor must have been cast no later than 1050 and all seulpo.ire mus1 nave been cal
` ` Aall bronzes must be dated with both the original cor.

prior tc l97C unless an exemption has been made in advance by the Vertiiig Comrnlt'tee and/or rair Orgaiuzers D
ceden ol' the model and the date or' the casting oli'cred for sale ll' a precise date of a casting is -.unl:nown the gallerv must provide a cirr,a date ln the1 aim Beac

international A.rl &. A.ntique Fair no posthumous catings or sculpture are permitted unless specifically authorized by the artist during his or her lifetime Referenc

regi_lt

a maior or minor restoration will be determined solely by the appropriate `vet'

documeno must be supplied

ill Paintings drawings prints sculpnires and textiles must beara label clearly stating the name ol' the artist with his or her dates or the date of his or he' exhibit l
the artist is unknown the school and approximate date must be stated -. g. 'Engiish School latter half of l8th century.'

911 WOI"K$ OI deceptive origin must be properl v labeled Aiiy exiiib`it made in a later period than its general style suggest shall be labeled i.o indicate is approximate
date

l9. Atiy and all requesu for exceptions to the above rules and regulations pertaining to the Vetting guidelines must be submitted i.n writing to the orgaru..ers or the
Palm Beacr international A.rl & Aiitioue Falr 30 days prior to sctup. Such written requests do not serve a< guaranteed exceptions or waivers ol' the rules herein

20. lri the event trial the \"etting Cotnrrilttee determines an -x`riibited object or objects to `De inconsistent with show standards the Exhibitor wil.1 have the ob_ie..1 removed
and stored al his own expense outside ot' the Exiiibiuon Faciliry.

_ The :-_x hibitor shal‘ furnish the exhibit space'sr with a sufficient display or exiilbiL and shall ensure that its employees representatives and agenu are in anen-

dance on or at every exiubil space occupied by the- __ ":;`rti`oitor al all times during the hours that the Showi= 1 open to the public
A.Merchandise Secunt\' Pass must accompany each article sold by the E,u`iibitot and must be shown to the exhibition Hall sunriry officer on leaving the :_xlii oition
.lall_ Sunicieni Merchandise Secuiir\ Psse s will be given 'tc each Exhibitor by PBl.A._»*~._F during setup.

.al and debris o' whatsoever nanire "sed ir. connection witt1 the 1Exhibit Spa_':e`si must be removex irorr1 tne

7" .Zac`ri ana every emibri ana all boxes packing mate c
Exnibrtior -aciiiry and grounds by tire Exnlbitor a hisfner own :os: and expense not iate.v than the date and time tc be designated by ?Bl.»=e-e:. l.n the event or the
_.xhloiior to remove and store the

sa herein provided PBL~.&F may and is hereby authorized and made the agent or the
'»`i: for expenses tht'_< incurred

 

exhibitors failure to vacate said premise
xriibi'. and all other mate11als 01 an_\' nature wnasoever anc shall reimburse PBl.-t
54 PBl¢._ ~'e: ma\ amend tnese and an\- nirtherru rules and regulations relating tc tne tarr or adopt additional ruie: and regulations as may deemed or dest_ _
~allure or PBL» »'e'~` tc insist in any one o more instances upor. the obse'n.' ance and/or periormanc or any ot these rules a.nc

sar_\, b_\ PBL~_A._:. a' ic .sol: discretion
r‘¢'ui ai_iorac shal‘ no1 constitute ' waiver 01 any subseouenl brt_ach o: suc`r- rules and regulations or the reouiremen for tne exhibitor tc sr_-i-:tl_\' observe ali_\ rule or reg»

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Exhibimrs
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dquz Paler handle inc Exhibii.ars s.'rdpmeni(s) m accordance
z wiih inc terms and conditions see forth hardin and' m the' L.imits

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siorage, and releasing of me Exi'\ibitor"e artwork and paddng
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Antique Fair will Dmvice its serviced only as the Exhibliofs
agent and nol as bailee or s.hipp¢r. ii any _‘-arnpioyoe ul Palm
Baoh infl An & An'tiqua Falr shall sugn_' a delivery racei.pt,
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Palm Bei\ch lnt‘i Ar! § Antique Fair will do so only as the
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tion al packing and the actual pick-up of ih_`e admiton ship-
ment from inc Emii:r`io#s booth for loading a'v a carrier Dur‘ing
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any extent whatsoever for any actual potential ar assumed
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may rault from any loss or carriage in an Exhibllor's mian'ale
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502-_&4}"»'3 5 86
Plaimiffs,
vs

U"AE, INC. and
METROPOL SECURITY: I`NC

Defendams

 

Al\/IENDED COM:PLAINT
Those Cenziin Lindemlri‘ie:s at Lioyd’s, London and London Ma:i<et Insui'ance

Companies subscribing 10 Poh`cy NC. NOOZOISO 502-_¢»»1.1:"»'3586 (coliecziveiy

“Underwriiers”): by and through the undersigned attorneys sue the defendams: IFAE:

Iiic and Mezfopoi Sec urity. lmc., and allege

NATURE OF .A.CTION

This is a civil action for Subrc)ga:ion in respect cf a jewelry thai loss

sufe red bv anierwri'ie:s insured David I\/iorri.s lmerna‘_=ionai( D?\/i`f"':; D}\/E was me

0\>\-'3&,'; ;Oi“.si§nes and insured ofthe siolen ie'weir\> Th€ thai :)ccu_'rec` ar me ZOC`; Palm

°='“aiionai. ” 7 & -m ique Fai," C)r§ anize:` ':-_v i:_-:, l:ic {::)De::;?veiy

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D@&'v;: in Lv,.'_i

'?7 '~`e` 71 " ZOCI_ D?\/E was “i e>:_`*iibizor 2a :i’ie :ai: having en'ie.'e;` i:-zc a

for T` s lease AI embi _ior, saa - s ach 337 =‘c copy 35 the

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cont:ac: ithe .A.g'e-ement » is attachec eto as Exhibit “A." Defendant l\'/letropol

Security inc (“l\/letropol’7 i was under c ntract with DBI__AA AF to provide security at the

rair Underwr` it ers insured the_ ewelry and paid DW approximately USSZ 700 OOC' OC on

account or` a claim for the theft under insurance policy rio. NOGZGlSO 502-_ A Alr v'E 586

(tlie “Policy") A tme and correct copy of the acceptance form signed by DMI

acknowledging receipt of this payment and satisfaction of its claim-under the Polic_v is

a tached as Exhibit B ” L'nderwriter sare entitled :o maintain this act ion on their own

behalf anc` as agent and trustee on behalf of all parties Who may be interested in the

jeweler as their respective interests may ultimately hppear

CITIZENSHIP OF THE PARTIES
L'r_id i"w'riters are foreign insurers syndicates and companies who maintain
their principal place of business in London, England.

Tunderwriters are informed and believe that ll~`AE, lnc. is or was a Florida

lJ)

corporation with its principal place of business in Palm Beach County; Florida.

4 Unde,"w'riters are informed and believe that Metropol is a Florida

corporation with its principal place of business in Broward Count}'; Florida.
FURlSDiC'i"lON AND VEN

' This is a civil action for damages in excess of$"if,OOO_OO and is withir

this Honora`ole Cour-fs subject matter jurisdiction '\"`enue in this county is proper

according to t' e terms ora torim se ection clause in the .greernent

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"" :"irv\ -as heic oetweer, ~e`or_ta:\ i and ll 2OCi ina pavilion located

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' PEl.AiA_F arranged security for the protection of e)<rhioitors at the fair

twith l\/letropol Dl\/ljwas one of the persons for

including Dl\/fl thro ugha c contr ac

whose benefit the contract between PBl.-Lal: and Metropol contract was made 'l"ne

purpose and obiect of the protection contract was to protect the insured from the't DMT

occupied the status of a third-party beneficiary of the security contract
8 ln connection with the protection contract each of the derenoan s assumed

a duty i:gratuitously or for consideration) to protect Dl\/ll by posting security guards
and/or installing surveillance cameras Defn ant llF ~iE with the assi stanc eof l\/letropol

promoted the cameras as protection of the exhibitors: including Dl\/U.

@ ln entering into the contract with PBl-Atiei_ L` l\/le-Uopol voluntarily assumed

/ .

a duty towards PBli~*-Al: and Dl\U to exercise reasonable care and caution in the

installation maintenance repair service monitoring and operation ot the surveillance

Calll€l'€t$.

lO. The defendants wanted the exhibitors, including Dl\/fl, to believe that

re the subject theft7

l»'.

ecurity at the pavilion would be better than it actually was Befo

Da ' ` Lester or H"A£ featured the new camera system to exhibitors including Dl\/fl

Prior to The exhibitors walk-thru of the security-booth Lester had a l\/letropo employee

vann

sit in front ofa CCT`\/` monitor and appear to be monitoring the ' shown on the sci co

to ci- cate a false sen e of security even thoughl it was never envisaged that the guards
would monitor the screen but only that videotapes would be made The monitor was not
manned even thoi. ugr. - e"hibitors: _='iciuding Dl\/:'i that

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incltding the booth o.fD_ _i The video as it turned out: was neither monitorec or

regularly c'heci<ed__ sometimesa atafter es ha drun out and sometimes was not tu ed on.

r told the exhibitors during the walk-thru that some of the camei as

l l _ Leste

were aimed at the booths _Ai camera was aimed down the aisle of the Dl\/H booth

avilion was tantamount tc a

l\)

l"`ne provision of camer as inside thep

representation to Dl\/ll either that its booth was under the protection of the defendants or

that the defendants had deemed the booth to be adequately sec` red

`i.3 On or about February l l, ZOOl one or more thieves gained access to a

Dl\/ll display case at Booth 460 and made offwith five (5) diamond rings witn a total

valueo fapproximateiy USSZ 70 lO:GOO.

l4 Th ntne en was reported to Metropol which cont acted the V\ est Palm Beach

Police Depa-r' iment Richarc Ca7e o l\/letropol also had an angry conversation with

Lester about his ifloester`s) having left Dl\/ll and the other exhibitors with the false sense

le rsimply dismissed Carte` s comments suggesting

that their booths were pro ec ted c etes

the theft was Dl\/ll’s problem not D~`_A.E’s.

li The placement and operation of the security cameras at the fair was

causally related to the loss in that:

The video cameras were installed to identify persons for reasons or

a`) i
security for the protection of exhibitors including Dl\/l_`l_;
`"" 'i"he video amer as were reiie don by exhibitors including_) ‘ _)M to

provide security protection at the pavilion_j

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ame"; " /c> :._-no n . '~.-i ~ ~~./-'\c dr o . ,,
o '»" v.' : i.i.i~.,i.i SCL.'\’\~ i:)i .`_l..la.l\_ip§ £L_i\ .\ psr `). vii ‘...._.iv~....._`.u,

.., . , _

person a'-. ;he booths including me Dl\/il boot".ri;

Case 2:O3-cv-14309-DLG Document 6 Entered on FLSD Docket 11/18/2003 Page 24 of 35

The c meras were positioned too far frorr_h th eDl\/E bootht to identify

o
anyone

el No guard was stationed at the CC'l` '\ monitor as represented to
exhibitors including Dl\/l_`l;

ij l`he cameras were therwisedefective, inadequate or incorrecti\
positioned tc account for the amount of pedestrian traffic in the aisles oi
the pavilion and around the booths including the Dl\/l:l boot h

16 The resulting loss was within the scope of the ` aneg r or isl< forse eably

created by the defendants7 negligence The instant theft would not have occurred or

would not have resulted in Dl\/fl s loss but fo or the defendants acts or omissions Proper

security devices or techniques had they been implemented would have reduced the iisl\

ofharrn suEered by Dl\/ll.

.l?. This was the second incident at the same exhibition Frior the subjec

`ncident, a $lO0,000 ruby and diamond neclclace was reported missing from a aispl d

case of another exhibitor inside the pavilion occurred oni cebrtiary 4 200l

Notwithsta'iding notice ofthis prior incident_ which at the time was thought io naye oeen

due to theft_ the defendants failed ’c take adequate precautions to protect the exhibitors

and their booths including Dl\/ll from ther isl< of theft

lS. Dl\/H subsequently made a claim under the Polic_v for the inst ant t:hefi loss

which 7onder\»vriter - paid in the approximate amount ofL'S$Z_?OC-'_OOO_

,. .......... -"`i».-.-- ».».,-` "\_\ n`-i/-\-§m-.» »~`11\. c
:l~`.).ii\,a ciit.)io€ 3_1' ia v\' c_'_i'. iu_ iS\_;i\/_i-`/i.- ciB.-.,_St.

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20 The _4igreement does not provide expressly for the posting of security
cameras, but rather refers only tc the provision of security guards and badges to prevent

entry to the exhibit area by unauthorized persons

2l 'l`h.e exculpatory language referring tc guards and badges is inapplicable in

this case because PBl.4~4n'-` and l\/letropo-l undertook to post cameras gratuitously and as

such were obligated to discharge that duty non- -neglig ently.

22 Underwriters alternatively all iege that PBl.4n4il: by its own choice of
language in the ,4.greement it prepared agreed to tal<e reasonable p ecautions to assure

greement is legally insufficient to

Dl\/l`l`s protection Exculpatory language in the Agi co

absolve PBl_4_.4il: and its agents ofliability for their own negligence in that the woids

used do not clearly and specifically indicate an intention to h ethe defendants ii om

liability for their own negligence Portio as of the .4.greernent re cite that security is

provided as an accommodation to exhibitors sand for their protection Other portions of

he _ g ement then purport to absolve PBlAAl: from liability associated with its

r~'

undertaking Far from unequivocally informing Dl\/H that it was releasing PBl.4._4tF from

liabili y for losses arising from its or l\/l tropol s negligence a reasonable inte rpietation

of these provisions convey a very different meaning i.e_, that the language only

encompasses those losses occuiring without their negligence The duty tc- undertake

core xor essed in parts of the _4.greement would be rendered meaningless if

reasonable cai _
i'or negligence

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the exculpatory language absolved PE1.4d4f and its agn

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ed or‘y rc;”tes tc-

their own ne giige i ce which i. does no:`j__ the _'~"-greernent stri cth constr
vision of the guards and badges Ther-e is nothing in the .4igreen ent providing

Case 2:03-cv-14309-DLG Document 6 Entered on FLSD Docket 11/18/2003 Page 26 of 35

€gllg€l'l‘.

absolution from liability for losses due tc material misrepresentations or n

performance of gratuitous or other undertakings

COUNT l BR_EACH GF L'C)NTR4CT r’against all Defendantsl

Underwriters repeat and incorporate b_v reference the allegations of

|~\)
ls

paragraphs l through 23 as though fully set forth herein

41 all times relevant, PB li4i_4l~` and l\/letropol owed contractual duties to

l\)
'/\

their obligations under the .4tgreernent and the protection contract
Each of the defendants breached their contractual duties tc- Dl\/ll by failing

to provide proper safeguards against theft (including etter camera coverage;)_ despite

their knowledge of an earlier e 7_ent involving a suspected theft at the same exhibition

27 45 a direct result of the defendants’ breaches of their contractual duties:

Dl\/ll suffered loss which Underwriters were obliged to satisfy under the Policy_

Vv"HEREFORE, Plaintiffs demand judgment against the defendants for actual and

compensatory damages as well as interest and costs, and all other damages the Court

deems just and proper

COU`NT 2l l\"`EGLlGENCE ('against all Defendantsl
Llnderwriters repeat and incorporate by reference the allegations of

paragraphs l through 23 as though fully set forth herein

»

By this action Underwriters seek damages for the loss of property r'i_e the

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o consumer expectations regarding the cameras fdnction

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'. all times relevant_, PBT‘._¢LAE and l~/ietropo_i owed exhibitors including

"n'r~aD/`c
‘_`.,i.i v»_

"' c ` ~ exercise reasonable care and caution in the installation main

re“"ir. ser/ice__ monitoring and operation of the surveillance c_meras.

Case 2:O3-cv-14309-DLG Document 6 Entered on FLSD Docket 11/18/2003 Page 27 of 35

The defendants further breached their dutiest c_D ‘ by failing to provide

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proper safeguards against theft (including better camera co verage`i despite theii

knowledge of an earlier event involving a suspected theft ttt e same exhibition

_ 32 Defendants negligence was the pr oximate cause or Dl\/l`l s land

Underwriters’) loss as a matter oflaw i he threat of theft was wit-thir the zone of risk

created by l\/letropol and PBl_4_4l~"s negligent procedures iri posting and maintenance or

the security cameras

4s a direct result of the 'efendants negligence Dl\/Il suffere dloss ror

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which Underwriters were obliged to satisfy under the Policy

efen dan ants iointlv and

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\Fv`ln_hREl:ORl-: Plaintiiis demand judgment against thed

severally fo r actual and compensatoryd amages, as well as interest and costs: and all

other damages the Court deems just and proper

COUF\’T 3; l\/LATEF.lAl_ l\/llSRlZPRESENTATlON lagainst all Defendants`l

34 lolnderwriters repeat and incorporate by reference the allegations oi

paragraphs l through 23 as though fully et forth herein

_4tt all times r

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'_/\

eley'ant_ PBl.Ac~*-J- and l\/letropol owed exhibitors including

l\/l" a duty to exercise reasonable c re and caution in the installation maintenance

ice: monitoring and operation of the sur* eillance cameras

The defendants breached their duties to Dl\/ll ' t l . c

including Dl\/l` hat tie camera system was elaborate ar

Qase 2:O3-cv-14309-DLG Document 6 Entered on FLSD Docket 11/18/2003 Page 28 of 35

"/ The provision of cameras inside the pavilion was tantamount to a
representation to Dl\/ll by the defendants that Dl\/l:'?s booth was under the protection of
Metropol or that l\/letropol had deemed the booth to be adequately secured

38 The defendants knew or should `iave known their representations that t €
video cameras would provide adequate security were untrue

The defendants intended that Dl\/fl rely on these material

ever advise Dl\/fl

39
misrepresentations a_s, at nc time prior to the loss: did the defendants

that the cameras were posted simply :o monitor ingress and egress to the pavilion and not

to provide protection for its booth
Dl\/ll justifiably relied upon this reasonable belief that the booth assigned

to lt was under the protection ofl\/letropol or that l\/letropol had deemed the booth to be

adequately secured lt was also sufhcien’L t . crecte the duty to the insu ed for PBl_A-*-J:` to

have relied upon the undertaking by l\/letropol.

4ll. 4_ a result ofDl\/ll’sj.ustifiable reliance upon the defendants material

mis'epresentations: Dl\/ll suffered loss for which Underwriters were obliged to satisfy

under the Policy
\K/H":PEFORE, Plaintiffs demand judgment against the defendant jointly and

severally for actual and compensatory damages as well as interest and costs and all

other damages the Court deems just and proper

--o/".
Ll.\.m.__

Respectiiiiy submi

Case 2:03-cv-14309-DLG Document 6 Entered on FLSD Docket 11/18/2003 Page 29 of 35

P_UMRELL, COSTABEL, W_A_RRDFGTON,
TH-OMAS & BROCK, LLP /_\

 

 

By: /% ' c /
REth
Florida B'ar,l\ic : l32410
Lindse§"_'//C/Brocl< III
Florida Bar No.: 971669
A_lfred C_ Warrington V
Florida Bar No.; 572l ll
4500 `Salisbury Road, North
Butler Pointe Building: Suite 340
lacksonville; FL 322l6
Attorneys for Plaintiffs

CE-RTIFI CATE O F SERVICE

Vv"l:_ l-IEREB Y CERTIFY that a copy ofthe foregoing has been provided to Scott
S_ Warburton: l'£squired Adams,_ Coogler, Watson, Merl<el, Barry & Kellnet, P.A.,

_A_ttorney for Defendants, IFAE lnternational Fine _A;ts Expositions; lnc_: n/lc/a Lester

E>;positions, lnc z P. O_ B.ox 2069, l555 Palm Beach Lal<es lE~lvd.7 Suite l6007 West Palm

Beach7 FL 33402-2069 and to Christ`opher Hopl;ins, Esquire, Attorney for l\/letropol; `22
Lal<-eview Avenue, Esperante-Suite l650, West Palm Beach, Fl_ 3340l: by facsimile and

U. S. Mail this lurie 30, 2003

 

 

 

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or .T":l.f-.A'F`,l shall govern the terms imc conditions o.'“ the E~hi`oitor's le:c<,e ol exhibition pace in thc FBLAAF
' additional days -ouired for mo\e~ir. and move-out Exhibiior ann

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ANTIQUE .:AIR
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mcmanus 111:` n_ngn 1a ;.-::-miL 11~. Lh: opxmon 01' PBLA./‘~._:_ 1p_1-_11'01:1r:`:11c dispk:y 01' ln: Exhibnorz c;ru"niL .A_lJ ':mm\ booLn_ mm npr 1 c-..ng 1a b» mmm

:: U1: ::.p»:ns: o( Lr)c: ;n.x`uuw' 1~111 .xnmu 1)\)`)1.11 111111 bc >11 high unn; dnc born o.- :1c11:.~ of Lh: :.~_,*11"1-111 boom ;.s 1a `rudc lh< >1='_1°1'.'\1“{: w d¢-E`h'l>-ori:ug mbm ,‘m_-n
mr v\cW 01 v\:)`lor: pusm; mon; ms a.~`;lc:. AL} :1¢11-1<::.‘ ma o canng work will 1>¢ und::_'u"_-:_ 111 1!1: E;;`ru"uuo.'.‘ soic :..~sx unc :;pcn_s:` by women umgr.zr;c
D_v PL"l‘ ’:. D“'_'ul 01 mc :lcm'-nl ann oL~o-.a¢n;'cmm<:mr w"L` bc 1'0~1.1~:1::`1:1-11")1: .:_:.."~.x"m(cr upon ::r;utjoc 01 m- :~__n»‘~~ __.Jubilo' 3 ‘ ;:":.:"ncm

md Lh.": Ap;\rnd.u A.

4 "EL‘\A~ \'111 1n!:1r1:'1 U): ;,;Muilur 01’ Lb: chiL' opc:'un" _nc cxo:m= hour.'. a{ 1.`11: :.r‘_: 01 \nc _zN=HL\OD :=:'111"'," "’1 ‘~'Nc" mt E:Nb“':"‘ 'F~'\®'\=)
11 _111:0 :_f \1~:11` as ~_'T_\ ::>c:;::.' runs md r-:'u_zu`on$ pertaining 10 mm ar:'_ 1nc1\m'1ng anu' 1111-11:;\Uon_ u:uj`u :onc-_-mm\: the m\"-\l|l=>¢"\, D|"='*uoc mo -i11r1-.=1.'11111-1;
of chc '~`_,;`111"0110. : ;ru`bmcm 1_111: 3111"01101'1,1-:¢-:_'_10 comp1) w11.`n all c*~__;lin§ ru)c 111-rd rc_ru'.ao`on.$ mahoul 115-chacon cr =pp".u

 

1 nc imibuw 1

-\.II 0 chc ...111L11101. ..111.11111_1 mm bc dciiv--r_" 10 Lhc E;.`nibicion F-c~.l1ry ma ;r_' up on Lh: d_~'_.." md :1'1 L`n: u`m‘_‘ 1a tx ocsigt:m::' b1 PBL»=..A:."'
.n: E:_`m`cnlur m:; nol usc : non-¢z}'Jcm.m; ua=r or 131 a( ]u

r

 

m"i~ 1111-51 D' s.. uo anc~ rcaay 101\'1:1'11;1§ pn`or m mc cola soc time 11-1 b< ccngr.;\u:: by 951»“.,/\.1`:
:m;l€‘}"-~*-‘ EDIT_'=nm)'\'Q 1:11' ngcnu;, 10 assis: 12 suing up mc E.._ru~ "oiLo."x :xJu`blu.

.BL'- »‘\."`m .'mm; an 1-:.\_.-.»<:11:1`01`11:'» or11.'1.b1"111-‘ 1'1).' :.n11 lo:_~ ar :`.:um:: 12 pc.'_\on or amp
=zcmn' by ux £zhihhov shall ac 311.`1~1: win .~_,111< 131 _1»,c g,m,'¢;m, Tn:

 

5 1;-_1c11. '~ ;1'\1":111011:1:_:>@.:1`1>1¢ fc:oo111ning is own 111.\'1)1'-11\5= CGV=
~:v 111 czan von \1-11`n mc :':1.1.1 Al) c:ni'nw :nd um:' D'Opcm' Qf'~>ul,’n mm U‘C 'J~NG'“°“

U..D“o, m{ cmp'mc___ gmc ms umw ncr,__o\ uncon`diuom_;l> rd _._“ 1-151,1\,_: imm __-1\ 1_;;>@1'1:1`1::`11`1\ unauo':\cr l'c. :_n_v 1053 01 anmg: 11: D~:on 01_1:~00
,\w m connc.uor. ij L`11: .‘:1.1.:. ‘ n

1DL L'J'UD’WF 13 =’11.‘.".'_Y rc:!><)nsml: 101 ma ;Uu"oil :_n:z :(11_111:‘ 11'~1~_-=_ 1a rambo-y DB]~J\- 10.' .\nj sam-agr Lc an {`10:11. \xU_< or =qu.\pmcm us.:o 111 :orm¢:um-.
"_: >C.dpc punL place Lap< upon crr 12 au_\ W:_\ rm: 0' nuri U\: xunac: 31 m: nom

mm 111: '_:m`on mzc; 111 111:1 E_z`)u`b1101 :`11_111 1101 o`.nvc mii: inw. gsu

S. "Tm _Jrubu-y mu_c _-_~_;1);¢ g-n'g_n Appij-_-_dc,n 10 PBLAA_F joy smm~, FMSC; 15 tx 13511<:11`1¢ U\r .=,'Jzibilo! nnc` 1L'. cmpm_vc:_ rtpr:scm.:\uvc:_ and a.;: nu nc__ ;:.r\
\C' 55'\11? dwi/01 d1£m;n\.i: Ln: .::;`n1`n11:11'1 c.r.lz.ibi'_,.* R.L‘ such md1v1611a1: mus: r:por. le an :.UuDl\o.' Scr~nce; 1)1'15:: cr d»_-zmn:u-n 5r:_'u.'~1r_v szicr on am 11 ~1 ~11
F:~ni`wum\ ~=o`i:)y. §u:n scm~n;. p._, ._,;=: 11~1:111 be vnljcl on 1'1>< ¢i:11: md 11an u~»c u.-n¢: 10 bc tic.igmu.o` by “BL¢.‘ ’~' .»‘Jl >ud\ mmr_v 111:3:_' sfdl b=~`umc ~u11-‘ '-1=
lhc u:-.-.= LD'.:~ Hr.C by ."‘Bl/-J\.: for inc Compic.Jcm cat xur::. c:: 1:: and/or ¢smndin¢ of Lhc .(=ur

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1DC ELNOILOV m!.‘.<t D"_'UC: \¢»'nn:n lp_m\:lljo!\ 10 bBL~.. `.1* {O.' xc,:uri;v ':.'.1'_1£ \c bc 1‘_'5\.\¢£ \<1 (.hc §N\iulkor md ll.' :mmovc::._ r<_pr~:~'.;n'.:\l.\\':: unc \g__nk, m::->;._"\
b “E' :_ mcludJnE w~1L}»-

o
1a.-11»»» .-.lT`1r1r-.-11r\1~.»~11.1-.n 111 111~ =»1.;`¢11111~1 .~;hih'11_ Suc`n _\1-:.11'11y pa_'._<,:: snaJ? b: v1.1'1c on mc cruz md ou.nnr L`n: urn': 10 b: 1‘_'_'1‘1"112125 b».
oul 1.11ruc_1uor1 ounn; mc opening :Lno c) inv nom of usc r:1.1.1 mms `1>< "-'__1.131-_:1 b;':uc111nd1~1~ic1112.1`: 31 all Limc; cunn; thc $ho\~.' znc` mm bc c>r~:.:m::v 1a u'1c _uuo1uon

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2(`01. 0111 sh;].l =5:11111:

1a DS`.;.,AF will pmvm¢ jL))ou.' l9¢1111=¢1¢.' 1¢1:unq 1::'\"11-:-.: .'~.":\rr. ID:U, : m. Mnnc'_zy_ J‘.z\u:u')' 19_ Z(X?l. Lr) L:OC' ;.m. Monc.:)'. .:':bru.r'v ll
no EIDOnslblun “fAL>c><:~/c 1111 am 1<1:.: n' danny 10 thc nnpcn’;' of u): :Ah.\~' 'nuor. Tnc i;m"uim.' m-vy_ 21 115 O“'f`- C=JS‘ -M o~_DCn»- =~"'-mf' mug °-“ U‘°Cx“°-“‘

::':unry company fur m own sc:uriry s;'wc;
‘.F».U rowqu o Lm ;~_11.1:>1101 11111=111,~ cmmn¢c w1u1`m 1:1< =1111"1~.111 _-1==-.-<¢f ~_11c :onci\\rv_~'.' J< mn.<:_ur.nr v~')lh ' major V:11:£ 111'$1-<11.1]11`_\11111:‘11:1)01::1 .: ana .wuouc
a.\.'. bounc--;_»o.» u:m; d:vi::_' and/or s ,_~_\ -51 b.; -1»1_<_11'11-,: 9109=5:11¢¢` u1111-.111.11. L`m -_~_=1~_:: ouLhon:_uc_ior. of 1.-..11 Dc--:_, 1»1_1;::'..

,-"n: E:.l11'n11u1_:111c.;o1: _ 1 md up=n:= -r11.1;. 1.=¢: u1¢ =:'_y\jbu ::ac= 5`: =1 v_|‘ um:_' ump-<‘_'i_\ orv_==nc.= and mmn'-:u.n=c 'onr..1..r11 \~11.1~ 1:1:-:1-0_11_1<`
.1 di 1.1`m;_ 1r. :c\ci\uon mc _An,¢`mm. mu_\z -_'mo~< aL` :>u':);mz :.~u\c ms ucor-_ nom Lh= _Aru`r~n .'_=»=~'1(£;. N: '~=\\"' U`*F mt "’" ~"A 'i"'“ °:"5"‘1:’: n." DB'*A~/""'
11011131". $l’xouid :.‘.11'. U!'_ exhle §pa:'_-":l_ mc r-_mov< :.l! ;,;r\jb11 r;:>w;nnr_; ana 0‘1)5,. anr -_.~.:\.1`1:»1\; 11 1;5' on: no\~.: pc{or= '_\\r `:'.'JLiD\uor.‘.-ir_\.‘ 1: opc:. 117 1111 punu:

assn c:j='.

nunc :1:11:1..`1!3¢:111:11. ::uk_nm=n.
" _DI__JCDLX.UO|;

   

 

'n.~:>u :1-.;' f 112':1_\ r-_* or wn.'u:¢--

 

   

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' le or ao)n; :.uw won on m_\- umc.' p:_' 01' '_h: _:_'u`oluon .'~c111r_\- ur m;.

 

pus: o»::. u\.~.m

 

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`§ °51.*_».: :1111 m :111u1c1_v:';.
:vr_'. 1n:1u01n§ v'Lmou: 111-1311.:11101:_ .o.- 1111 pum;_- 01.:~~_11-11115 ~_:c

 

-”. NL` 1':1'1;'\11n1r1-11' 1_1~ baum -.'11’-.11-1) L;_inc n'.J}' 0: 5u_r1p11m ar ;10.':: 1= 1111 =:ni`mug.: '~`.alf 1:'-';1'11. £:Ju`:>jlr:u_ w)LnL-u= D)\</r u_:'.)m\': Lmo)ur.; ): nu: 2110-\'¢¢::1' mr

3;111011_101~. =;:1'11¢ 1_1_\' 3 '11.: ::\1~'_
,1":1_1' __ ar::: :c -_'1c 1_|1: nn\'i::é:.: ;. '~.1:: u:::: ':1: :_,.111':1'1`11’; ».\T:.T.:.“ ...1~.

    
 
 
 
 

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_. 131)1`1:::11: 1;:':

0'_1‘\$0!`;1` |\J'T: l|mf IFT’\¢C_C ._".._.C OLn€-' L'T_"' U$¢:

_ ' ._',1` '_-';: 1m_oc:;c 1’1\ ;,n~_' ~\~:1;1; wmcan ':. :ann_-::u:.'
;1_1n11_1;1€uu1 1'-*." :1'2:_1:-:1.;01' 1r. 1_1~.: '.':_1" <un_:::: 1<-11'.--:

:f. .‘n: E;..f`:)uo: 1.

 

.1:'.:`.'3.'"2'.:' '_'::;__ .'._ .`_' “";1'1 31

   

' .\n: ':_".'..1 05 :c:

 

 

:_;/1_121m.'.'__-'-;-::m:n:

 

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f
._»~ *'C .
Qr“¢_¢ *UEJ`_ P "‘
» q»~ »\ .:-._ F`\T”r~ec C_ mar\"_"\€-'C"" V ’“ ad
_'jU\-, BLJ `)J k/S._/'c nn b
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1_1_,1-1 ;‘ 551 '
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~c,,_._\\= 115 ._c: mo 1mpcr»an\'.' ma 1b Lzmb\rion
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c not G::m':; 10 bc ShO‘* “'°‘LD) mfvai-n; Dm;‘_;

E N': ':,Uu'bll;~ mum o: pmc)c:|v :L\T\bult$ l!lC m d 01'$'11:17 : xi:z.nc:.."; md m 211:‘.11 »,~ow:liuu:.. ""a:.n,; 1..
-: 1>: cong-mw 10 mc bri\ 11'~11:1':>'1.\ o.’ LhC S`I‘mw L . .`1\0)1~_ 1n: vc':ung ~:':>mmm:: m:~_' niL<c 00_1-.':_' wmc.`
11 :11': nol nc;`_,~':__m "1v :L _ our 2.1'-. nor felt le Dc c." su‘.":mcn\ qu:.jnj' )'ur mc !a.u
gun mm 1111 <uz_.-nrm- ron:~:.~mng =rcn"muor. ana :nnd.n.»ou >"1:111 .’\0'. dc m':.}; < rm:;nl b< mmc-adm ~j job
~ c,. 1.: 1 .

 

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ltvan :':_r.ozrm mus1 oc adhc.~:c re ny U): :*'unuor.
E.AC'.I AN` £\r'_`_r'_\_/ ”"'1;:';1/;-'-`,\-§3]`."_'_,"?~'1"1_}$_. )"~¢1\"'£ A DE$~.FU§F ..""i ‘__,~=B`-` `T..»‘~ lNC “.`h'E NAM.':` OF "'.~_"'~_ .r’f"._$` _ `r~EDRlM OF 1.-{".\\'0&1; y_;,._-

OF Q§_JQLN_ m Pp @wZN:\Nf,T-. '_-`_~1¢;1 and ='_n ncaa mw ve 1.11.\¢1;: `FJO!* '! - u`1; bcguuu.n; o.=' u1: \:rrm; maj ,1`;

:;111"1)1151>:1:2 1a ms duncan of zn¢ .:1.1_-_ mg 313 er

 

 

OF ZCCLT1OI~COW""..
=Ahjbxwr = laliu:: 10 E:bc;_._ '~'~c murdch j will i':.uc` 1c mc r':mo\'.w` of Ln: omc:'.: con::m:; or Lhc meant 01 '
Lh: 110¢1:1~.31.`1>:111 kc:mn; »~'11.11 mc :xnj`nu.

_~` ` -_ 1‘950£1.\'1€ ill {TK>Q:'. 1731an mm

1:,' /n: naL:linc ro' thc “11. is u~a. T‘; afder med=m psim;r¢: mow by qua E,»Ju"uiwr mus-. r.:\-r. boc _x¢::.n-’ 110121_' rnz.r.
nxvc bc:n mccuch pnor 1c 1970 unj::.: nn 'l`cmpljon h:'.: bc:n m;m¢ 1r, :.c\'ar.:: br 4inc \/':mng Comnun: and/or F';i: 0:"(_*1:'111::'...=\:.'!`11:.' us 111 nrc[zcm~~ 111ch
`11 mci::: shown .~:1:11: 10 U\: p<n`od ':`nq- nppu-:nu_v npn»_'=nL mc E=L-r :=mc: w panama will only rz LUo~v.~:' 1111.`11: drawn of an :ppmvcj:_'- `vc"v_n; 1_0@““__;
(`1"1 '\nDOI->r°-'- or worm 01':11'1 \v\`m wmch ux noprmpr.u: `v':."n`n; Conm-.:n=: i; zu.\.x§c: mask oc_
1. mdnu';.' O.' WO"" 01 L'. n( 11\1- 341-104 \vm¢h they nrc r:pm<.m=u w cr_';

ii. i.r. u')=i: angina Sc:rm; n

Lii. mus: bc 111;1$1 l(X) _v:::: 010 10 bc uoc:`cc amiquc;

11 F\:gi)dmp of rmr.o. ' .'.`..rr)c;, "1"11 :..:in and oLh:r hu'mru.r: m:_~ oc p»:r~nm\:.c 31 U\= duaner c./ thc donrvOr`-'l'-= \'C’-`GJ\: ~ -'“‘"“‘“"-' W\"\"°=‘= 9`-=\ >u"\ rc;uom»

Jo;, net :xt\\.u:i: cvmcnc: of moouxr) ma mm me uu1.z£ 1'.:1!>¢i~=c L' such

1'd`1 » major r'._\'lomuor: :: nc>\. pcmun:£` mc L`n: oc:~_s`mn o,' wm;: :onsu`n.u:: 1 m:ior 01 manor r-.-szor.\c`ron \-/'111` bc c:.::Tmncc mi=i) o_\' u\= appropnuL \»-:ung
Corm~m`n.::; `
1113 P`:duc::cm:. mchuc`u`n; pmm or maps winn mmmec 1op: and-ncic :.-.a.-;m: ~_=T. no< :.Uowod'.
1'(`1 F_:ch exhi`nh mun '1>¢ L1'oc1=¢' -nm um uaw ana vacuum 01 un;:m.
L;," No '.ziu"nil Sh:L'.‘ bc pc:'mm-.c \c mclua.: ma mhowin; und::.' u_\'
'_ /~.11)' '_zn¢'ni: hx- mg bean sc 1:;:101~::'._ ~' 10 :;:iud: cvni=ncc 01 x=nou: ur:
ii `r\‘~J-!Ti-`*"=-' O(M,v kind Lh:u. 15 11:m: mont 01 1'~0 or more individual .\=:11`01‘.5 usn o( wru'::
u' A"V *'»Ni=" hn\;m; addi\iuu>'. var:zcu'ons !:11.=' :anci'r.mcm_~ o m, aj\-~:n`cn_ w`1ucn :n:mgc 115 nngin:_’ .'..'1.1_ ::r.' or c:m:'.n:' 11_ vaqu mc

ir. nbc opinion u( nbc mpmpr mr Vcn.ing _,om.-ruu= omc m:.r. `m me 551 imcr:'.u 0. mo sz.r. ."`~Or _:.~_mpl¢. (bu\ wix.‘wul jj_nu`uuon_}:

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ong'\n:..lw inn-ncr pan of other di§`c::n( 1`1.:m:;

 

.)L:m.: Wl'x.ic.h:rr_
. WRcouCL:On.‘ m d:',)cr. Q.' :1'_; p:ncml)_v 01'1:1\ p)c_~:. such a: xid:t>u:m_' or ama
. P\:.in p\c:; wash have bc:n :zrv=; mind o. cmss-b_md:,c z1.la1_a' 6211:.
ML.r-a_ wim uriFin_-`J u=>~x,_';":_< :.11._:1::'1 or w\d`. d::ox‘.\lr:" g)~" borden or punch \-\'mcli ann no< al Lh= 01'1“‘.1`-11'.
-Gi11 g:'_sc '.:1.1:>1:; wiL'n n»w :_»_-_;g \ppg_
:unum`:~. wsm 1 solis pilnzh umw 10 '~.->-
<L wooo:n door: ul.::" 1c pass or win ogc;
m.;d .‘1.1111.11“1': r~p:.lm:: wm :mbcll'u`nmcnu or a cJ-u.n~\; al colon
.Scnca md ".*.11.'* which origm;u|_\ had cane .\::11.5 bux nn now upho\su:r~c`
. :1¢:':.\:: 1. which hhc o'r\gma.’ movcxnmu huv: oc:r. =nu.~..!v r~:plz;:
. anu or map: 1r. v`rucr. lnc bi:\or.al xun':c: na.\' D<z.n rtcu£dl or n_~.< h\M-."= roirmn§`.
01)1"\11111'1111¢ Tdr caci`mc mi ali anoquc fur'ruru:r \`z 1900 .
!.°<n ~:mur'\: hamm of :c:puonl' mem ensued in 1111 :r_vl¢ of :.o wilc- pcr-ioc' 1.\ pcmu:.-iam crowding tmi ii il CD!"‘~'~'U_`" 139<\=¢ 3 mch~
il=m; m nor dLr: .' :opic: of ~~ :_:n';=r pmm low c=muq colum o:' an univ ponce m 1101 pc.~vm;xi`nl:
111 SJVlUNr': `1`1»< n.'u;_m: 101 thc l2.`1;;;1.`11:1.'/'55'1- ofsculnrur':\ x.)~r~--r. b; <.1¢1- '¢}_}131;13101 mus: bow t~.~'_n c.:.sr no 1:11;' man 1930 _nc :1.. s.:mpmz~. mm nu\ c bc=:.- ,_w
unu.' 10 1970 umr_:: a.n ;z=mouon h~_x bocn m1o4 m -dvzn: g `o_~' lh< \'cnm; Comm.lrlc: ana/or F:zL' Cm*uuz,_':.'.. Al' bron:_c: mus¢ D: c'\.‘.L_.. with both Li\: original :'cr>-
::pu`ar of L'n¢ mooc:` and chc L1: o. Lhc mm offc.'~.d 10' sale 113 pr::\s¢ cia\: :11' 1 ;:;onp ix unamown mr r-'Ul=-.' Dlu$‘ Fm"‘°‘ ‘ "~"" “°“ m m‘ "m 5“":"
1n1.:m:1uons.l fm A' w)ucur. rx.u no po:mumou: mun;; 01 »:Mnrur~. an pc'm)ncci umc:r pdi-'IC=.U WCD°HZ-=$ °,‘» '-b¢ °-"‘--" °\L' § h-“ 97 hc’ m:um‘- ch:rmc"

1‘_'1.r!~ 'u.mc Lhc name 01' m~. ams\ wild `ru`: or hc.' dam or chc <i:uz 01"1'11: D111c: _,Jnox' L'

` :'. foe' or bache im 1~.'_,-11::::1 Dj' pimu'\.'

 

and pm\'\o`ln; L\;m k\):

 

docum:nu mun D< Jqu'Lir-d
qj} Fa§nung:. anvqn:_~:.` gmc s:uipxur~;:_ :.nc 1::_1:1.`1;' musa b»_-u : nbc
Lhc wl " um:x\o\vn_ Lhc '»:no<>`r md approzirn=c: cz\: mun bc m'\=d_ :.g. "E,n¢:U:h Schooi 1:111»' half 01 JBLn c'..'\mr‘j.

' l .i n»\u waiting `

='~hi`vil mack m 1 .‘.~.'.-: pcnoc man 1': pmm sq 1a xvg,-. 1:1>¢1=1:' 1a indians iu appm:;mm

 

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§§ my mo d moon for =z::poor:: 10 chc abov: mi:: :.nd memouom pcr_.imn€ m Lh: `v`cn.m; guio¢iin=. mm 122 mom»n.-; 1n wnm» 1a .nc orr-am..,:::' o/ m
F=lm Sucn inumwoluz) A.t\ 1a muu_u: .-:1'1 30:‘.: __:y: pnor 10 sccup. Such v:~ir\cn r:quc:u co nol s=.-vc n gu --'unlc c:;::)on; cr wai~;":- 01 11\: mm 11:-;:11~1

ZU 111 inc :\":.n\ L`n:L chr `\':nmz Com.rmm: uacmm¢ m -_xw’:>\\=n ob_i¢z; n.- oug¢c'.-. m tx m:onxmcm win sum san\...m_ 'n: 5;111"0110.' w115 have mc obj:: rr_mo\-:c`
mo 5101':5' a: ny own _;p¢n_\;` QuL~;w_; 01 1 _; ::n`bil.jor. :‘-ac"x}kr)'.
nc -mi`uuor 111;1_11 forum m= =1’,.;'°1. ;¢A=<';=; -11)\ ; 3111‘;1-,1_111 1111-any of ::nmu~. :mc m;l.' :mu): mar iu :m\>¥v,v==. "=D-’=l=“'#v‘t `-£° =;=Df ~'~”'- " 1“~”-“'
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